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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          Case No. 15-CIV-80901-BLOOM/Valle

 YVOLAINE CLEDOR,

       Plaintiff,

 v.

 VERIZON WIRELESS,

       Defendant.
 _______________________________________/

                              ORDER DISMISSING CASE

       This cause comes before the Court upon the Plaintiff’s Notice of Voluntary Dismissal

 with Prejudice, ECF No. [23]. It is hereby ORDERED AND ADJUDGED that that this matter

 is DISMISSED WITH PREJUDICE. The Clerk is directed to CLOSE this case.

       DONE AND ORDERED in Miami, Florida, this 6th day of January, 2016.




                                                  __________________________________
                                                  BETH BLOOM
                                                  UNITED STATES DISTRICT JUDGE

 Copies to:
 Counsel of Record
